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                            No. 22-11858


         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


                UNITED STATES OF AMERICA,

                          Plaintiff-Appellee,

                                   v.

                   MICHAEL PEYTON GUNN,

                        Defendant-Appellant.


          On Appeal from the United States District Court
               for the Southern District of Georgia


                    BRIEF OF APPELLEE
                 UNITED STATES OF AMERICA


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                        United States v. Gunn

         CERTIFICATE OF INTERESTED PERSONS
        AND CORPORATE DISCLOSURE STATEMENT

     COMES NOW the United States of America, by and through

David H. Estes, United States Attorney for the Southern District of

Georgia, and files its Certificate of Interested Persons and Corporate

Disclosure Statement as follows:

    Christine, Bobby L.

    Davids, Justin G.

    Doe, Jane

    Epps, Hon. Brian K.

    Estes, David H.

    Groover, Tania D.

    Gunn, Amanda Howard

    Gunn, Michael Peyton

    Hall, Hon. J. Randal

    Knoche, Karl I.

    Lyons, Tara M.

    Merzlak, Shawn Michael



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                         United States v. Gunn

     Nelson, Frank Adam

     Wahman, Sheila Grider

     No publicly traded company or corporation has an interest in the

outcome of this case or appeal.




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          STATEMENT REGARDING ORAL ARGUMENT

     Oral argument is unnecessary in this case. The facts and legal

arguments are adequately presented in the briefs and record, and the

decisional process would not be significantly aided by oral argument. See

Fed. R. App. P. 34(a)(2)(C).




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                 STATEMENT OF JURISDICTION

     This Court has jurisdiction over appeals of a district court’s final

order, under 28 U.S.C. § 1291, and over criminal sentences, under 18

U.S.C. § 3742.

                    STATEMENT OF THE ISSUE

     Did the district court abuse its discretion when it denied Gunn’s

request to continue his trial because he was waiting for the government

to provide him with alleged Brady material, where the publicly-available

material was not in the government’s possession, where Gunn still had

the opportunity to cross-examine the witness about the material, and

where Gunn also had access to the material before trial?

                    STATEMENT OF THE CASE

     I.    Proceedings and Disposition Below.

           A.    Charges.

     On February 6, 2020, a U.S. Magistrate Judge in the Southern

District of Georgia issued a federal criminal complaint charging Gunn

with sexual exploitation of a child, in violation of 18 U.S.C. § 2251(b).

See United States v. Gunn, No. 1:20-mj-007 (S.D. Ga. filed Feb. 7, 2020)



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(MJ Doc. 3).1 On February 11, 2020, the magistrate court appointed

counsel to Gunn and held an initial appearance. Id. (MJ Docs. 16 (text

order), 18 (minute entry).)

     Subseqently, the grand jury charged Michael Peyton Gunn in a

superseding indictment with a sex-trafficking conspiracy (Count 1), sex

trafficking of a child (Count 2), enticement of a child to engage in sexual

activity (Count 3), production of child pornography by a parent (Counts 4

through 7), possession of child pornography (Count 8), and obstruction of

a child sex trafficking investigation (Count 9). (Doc. 153; PSR ¶¶ 5-8.)2

Approximately 11 days before trial, Gunn’s wife and co-defendant,

Amanda, pled guilty under a cooperation agreement to the conspiracy

charge. (Docs. 232, 233; PSR at 2.)




     1“MJ Doc.” refers to to the magistrate court’s ECF docket in Case
No. MJ 120-007 (S.D. Ga.).

     2 “Doc.” refers to the district court’s ECF docket in Case No. CR 120-
014 (S.D. Ga.). “PSR” refers to the presentence investigation report
revised on April 6, 2022.


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             B.    Gunn raises Brady allegation on morning of trial.

     Gunn’s trial began on November 15, 2021. (Doc. 241.) On the

morning of the first day, Gunn’s attorney raised “a possible violation of

Brady”3 with the district court; however, the attorney stated the

government’s actions were not intentional or made in bad faith. (Doc.

324 at 5.)4 The attorney explained that “in February of 2020 Special

Agent Godbee reviewed several videos on a website called PornHub that

were of the co-defendant in this case, Amanda Gunn.” (Doc. 324 at 5.) In

these videos, according to the attorney, Amanda “read some sort of script

. . . .” (Doc. 324 at 5.) Gunn’s attorney believed that Amanda would

testify that she was forced to make these videos by her husband, Michael

Gunn.     (Doc. 324 at 5-6.)     The attorney explained the videos were

impeachment material for the jury to determine whether Amanda was

actually forced to make those videos. (Doc. 324 at 6.) Further, the videos,

the attorney believed, were exculpatory to show that Amanda “had this




     3   Brady v. Maryland, 373 U.S. 83 (1963).

     4   “Doc. 324” is a copy of the trial transcript.

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deviant sexual lifestyle and [was] more likely to be the person to have

committed these acts against the minor . . . .” (Doc. 324 at 6.)

      Gunn’s counsel acknowledged that these videos were not currently

in the government’s possession, although the government was

attempting to obtain them from PornHub.           (Doc. 324 at 7.)      Gunn’s

attorney stated, “I am not sure why in 2020 when Special Agent Godbee

saw these videos he wasn’t able to simply capture them through a screen

recording or something like that and be able to provide those to us.” (Doc.

324 at 7.) The attorney requested a continuance of the trial, presumably

to allow the government additional time to obtain the videos. (Doc. 324

at 6-7.)

      The government contested that the videos were exculpatory, and it

anticipated that Amanda would not deny their existence, but she would

likely claim Gunn forced her to participate. (Doc. 324 at 7.) Although

the government acknowledged that Special Agent Godbee was able to

view one (“but not all”) of the videos on February 23, 2020, it explained

that the videos were never in its possession, which is why it had obtained

and served a search warrant on PornHub’s owner. (Doc. 324 at 7-8, 16.)

While the owner of PornHub had sent links to the videos, the government

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still was unable to actually download them, and alternative methods of

obtaining the videos were unsuccessful. (Doc. 324 at 8, 9.)

         Gunn’s attorney responded by claiming the videos were in the

government’s possession because the agent “has the means and resources

to capture the videos at [the time he viewed them] and at this point the

videos have been taken down off of PornHub based on the government’s

investigation and contacting PornHub regarding these.” (Doc. 324 at 9.)

As a result, Gunn no longer had any way to review the videos.5 (Doc. 324

at 9.)

         The government countered that the defense had known about the

videos’ existence from the beginning, and “[t]hey were just as accessible

and I would argue that [they were] even more accessible to [defense

counsel] and the defendant than to the United States.” (Doc. 324 at 12.)

According to the government, Gunn “mentioned those videos to the FBI

agents the first time they visited his house” on February 5, 2020. (Doc.

324 at 13.) While Gunn apparently did not tell agents the videos were on




       Some of the videos may have been still available to view on the
         5

internet as of September 2021. (Doc. 324 at 20.)

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PornHub, he did make “a spontaneous statement about videos of his wife

being on the internet having sex with other men . . . .” (Doc. 324 at 14.)

       In a subsequent interview with Amanda, she explained that videos

of her were uploaded to PornHub. (Doc. 324 at 15.) The government

disclosed all this information in the first round of discovery made in

February 2020. (Doc. 324 at 15, 16, 20.) Thus, “if [Gunn] thought those

videos were important to his defense, he could have asked his attorney to

go ahead and screenshot those videos.” (Doc. 324 at 13.) The government

noted that “[t]he issue of PornHub has been in existence since the

beginning of this case,” but that the first time Gunn asserted a Brady

violation was the morning of trial on November 15, 2021. (Doc. 324 at

17.)

       Gunn’s attorney indicated that he only realized they were “going to

be crucial to Mr. Gunn’s defense” over the weekend before trial, especially

since Amanda had pled guilty and was going to be a government witness.

(Doc. 324 at 18.) The government responded that Gunn was certainly

able to cross examine Amanda about the videos. (Doc. 324 at 19-20.)




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       The district court explained the “threshold issue” for this alleged

Brady issue was whether the videos were actually in the government’s

possession. (Doc. 324 at 21.) “[T]he simple answer to that is no.” (Doc.

324 at 21.) The court stated, “the fact is [the government] do[es] not have

possession, custody or control of those videos.” (Doc. 324 at 21.) Thus,

there was no Brady violation and the trial could proceed. (Doc. 324 at

21.)

            C.    Trial testimony.

                  1.    Amanda Gunn.

       At trial, Amanda testified that, at one point, Gunn told her that a

gang demanded that she be raped by several men.6 (Doc. 324 at 293.)

She explained Gunn made her drink alcohol and take pills, then “men

started showing up” at their home, where she had sex with them. (Doc.

324 at 293.) Gunn took pictures and videos while this happened, and

later he posted the videos to the PornHub website. (Doc. 324 at 293-94.)




       This was part of a larger scheme in which Gunn convinced his wife
       6

that the gang (MS-13) was after them and would kill the family, unless
she engaged in prostitution and other sex-acts to appease them. (Doc.
324 at 287-93; PSR ¶ 18.)

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     Next, Gunn’s attorney cross-examined Amanda regarding the

pictures and videos. (Doc. 324 at 331-32.) She denied Gunn was not

responsible for the videos and pictures being uploaded to the internet.

(Doc. 324 at 332.) Gunn’s attorney asked Amanda if she was claiming

that Gunn uploaded the pornography videos to the internet “to avoid

responsibility for what [she] did and not anything that [Gunn] did.” (Doc.

324 at 340.) Amanda stated, “No sir.” (Doc. 324 at 340.)

                 2.     FBI Special Agent Harold Godbee.

     The case agent, FBI Special Agent Harold Godbee, also testified at

trial. (Doc. 324 at 392.) On February 5, 2020, Special Agent Godbee

visited with Gunn and Amanda at their house, after determining their

minor daughter had appeared in some photographs online. (Doc. 324 at

405-09.) During this conversation, Gunn told Special Agent Godbee that

Amanda “had been unfaithful” in their marriage, which Special Agent

Godbee found “a little weird” because he did not “know why that had

come up when we’re talking about their little girl.” (Doc. 324 at 409.)

After confirming the minor girl was in the house, Special Agent Godbee

left, although he felt “something was off.” (Doc. 324 at 410-12.)




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     On February 6, 2020, Special Agent Godbee was provided another

pornographic picture of the minor child, but this time he could see a

man’s sneaker as well. (Doc. 324 at 413-14.) This suggested that “there

was someone in the room at least when the little girl was either taking

these pictures or having these pictures taken.” (Doc. 324 at 414, 415-16.)

Later that same day, law enforcement conducted a consent search at

Gunn’s residence. (Doc. 324 at 420.) As they were about to end the

search, Special Agent Godbee found what looked like the sneaker on a

shoe rack behind the front door. (Doc. 324 at 423, 424-25.) The minor

child confirmed those were Gunn’s shoes, and that Gunn had also taken

the photograph in question. (Doc. 324 at 425, 571.) At that point, Special

Agent Godbee did not know of Amanda’s involvement in the crime. (Doc.

324 at 425-27.) Special Agent Godbee arrested Gunn that day.7 (Doc.

324 at 427.)

     On cross-examination, Special Agent Godbee confirmed that on

February 5, 2020, law enforcement did not have any evidence that the

minor child “was in harm’s way more than she possibly could have been


     7A federal criminal complaint was issued against Gunn that day.
See Gunn, No. 1:20-mj-007 (MJ Doc. 3).

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taking selfies.” (Doc. 324 at 528.) He reiterated that, on February 5,

Gunn told him of Amanda’s infidelity. (Doc 324 at 531.) Special Agent

Godbee confirmed that Gunn told law enforcement that Amanda “had

been on the internet performing sexual acts before.” (Doc. 324 at 531,

542.)

        Amanda also discussed the videos that day with Gunn and Special

Agent Godbee. (Doc. 324 at 542.) Special Agent Godbee testified that he

found and reviewed seven of Amanda’s PornHub videos on February 23,

2020. (Doc. 324 at 531-34.) Gunn’s attorney had Special Agent Godbee

read the sexually-explicit titles of the videos to the jury. (Doc. 324 at 533-

34.) Special Agent Godbee stated he thought he saw Gunn in one of the

videos, but “could not be sure.” (Doc. 324 at 534.) He did not have any of

the videos in his possession. (Doc. 324 at 534.) While Special Agent

Godbee acknowledged he had “the ability to screen record or take

screenshots of these videos,” he explained that “[a]t the time this was

very early on [in the investigation] and PornHub is not an illegal site and

the fact that pictures of this woman were on or videos were on this site I

felt that it was more prudent to go the official route and get a search

warrant for this site for these accounts which we did.” (Doc. 324 at 534.)

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     Gunn’s attorney asked if, absent her later statements that she was

forced to make the videos, Amanda’s behavior in the videos was

consistent with masochism. (Doc. 324 at 534.) Special Agent Godbee

responded:

     SA Godbee:         You’re asking if I knew nothing else, that
                        Amanda had never told me anything, and I
                        just looked at these videos?

     Gunn Attorney: Yes, sir.

     SA Godbee:         This would be consistent with a person
                        engaging in what I would say is some sort of
                        deviant sexual behavior, masochism,
                        sadomasochism, however you want to say it,
                        where they’re being used.

(Doc. 324 at 535.)

     D.      Verdict and Sentence.

     At the close of the evidence, Gunn moved for acquittal under

Federal Rule of Criminal Procedure 29, asserting the evidence was

insufficient for conviction. (Doc. 324 at 583.) The district court denied

the motion. (Doc. 324 at 584-90.) The jury found Gunn guilty on all

counts. (Docs. 244, 254.)




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     Gunn subsequently filed another motion for judgment of acquittal

or a new trial. (Doc. 256.) Again, this was based upon insufficient

evidence. (Doc. 256.) The court denied this motion as well. (Doc. 274.)

     The PSR calculated a total offense level of 43 and a criminal history

category of I, resulting in an advisory guidelines range of life

imprisonment. (PSR ¶¶ 137, 140, 168.) On May 25, 2022, the district

court sentenced Gunn to life imprisonment on Counts 1 through 3, 30

years’ imprisonment on Counts 4 through 7, and 25 years’ imprisonment

on Count 9, all to run concurrently. (Doc. 314 at 3.)

     Gunn timely filed a notice of appeal. (Doc. 316.)

     II.   Facts.

     The immediately preceding section contains all facts necessary for

proper resolution of this appeal.

     III. Standards of Review.

     A district court’s denial of a motion to continue trial is reviewed for

abuse of discretion, and there is no error “‘unless it is arbitrary and

unreasonable and severely prejudices the moving party.’” United States

v. Pendergrass, 995 F.3d 858, 870 (11th Cir. 2021) (quoting SEC v. Levin,

849 F.3d 995, 1001 (11th Cir. 2017)).        Alleged Brady violations are

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reviewed de novo. United States v. Elbeblawy, 899 F.3d 925, 933 (11th

Cir. 2018). But, if “the defendant did not precisely articulate a Brady

violation in his or her motion for new trial, this court need only conduct

a plain error review.” United States v. Bender, 290 F.3d 1279, 1284 (11th

Cir. 2002) (internal quotation marks omitted).

                     SUMMARY OF ARGUMENT

     The district court did not abuse its discretion when it declined to

grant Gunn’s request to continue trial.        Although Gunn asserted a

potential Brady violation because the government had not provided him

copies of the PornHub videos, which he intended to use for impeachment

against a witness, the district court did not arbitrarily conclude the

evidence was not in the government’s possession and Gunn has not

shown he was severely prejudiced by the continuance denial. Therefore,

this Court should affirm the district court’s decision.




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                             ARGUMENT

           The district court did not abuse its discretion
           when it denied Gunn’s request to continue
           his trial because he was waiting for the
           government to provide him with alleged
           Brady material, where the publicly-available
           material was not in the government’s
           possession, where Gunn still had the
           opportunity to cross-examine the witness
           about the material, and where Gunn also had
           access to the material before trial.

     On the morning of trial, Gunn informed the district court of an

alleged Brady violation. (Doc. 324 at 5-6.) He asserted that there had

been pornographic videos of Amanda Gunn—Gunn’s (ex) wife, co-

defendant, and co-conspirator—on an internet website called PornHub,

and that those videos were impeachment evidence against Amanda, who

was now a government witness. (Doc. 324 at 6.) Gunn stated that a

government agent violated Brady by failing to “screen record” these

videos when he initially watched them, and then provide them to the

defense. (Doc. 324 at 7.) Thus, Gunn believed, the district court should

continue the trial until the government obtained the videos from

PornHub via a search warrant.




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     The district court correctly concluded there was no Brady violation

because the government never possessed the videos. In any event, Gunn

had equal access to the materials because as early as the first day he

spoke with law enforcement, he was aware of the videos’ existence and

could have obtained them himself. In fact, Gunn had an attorney even

before law enforcement viewed the videos. For these reasons, the district

court did not abuse its discretion by denying Gunn’s request for a trial

continuance.

A.   The government did not commit a Brady violation when,
     after Gunn himself informed law enforcement of its
     existence, agents did not “screen capture” video that was
     publicly available on the internet.

     1.    There are several potential standards of review.

     Normally, this Court conducts a de novo review of alleged Brady

violations. See United States v. Brester, 786 F.3d 1335, 1338 (11th Cir.

2015). But, where a defendant fails to raise the Brady issue in his motion

for new trial, this Court only reviews for plain error. See United States

v. Gallardo, 977 F.3d 1126, 1142 (11th Cir. 2020); United States v.

Lindsey, 482 F.3d 1285, 1293 (11th Cir. 2007); United States v. Kersey,

130 F.3d 1463, 1465 (11th Cir. 1997).


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     Although Gunn did raise the Brady issue pretrial, he did not raise

it again either at the close of the evidence or in his motion for new trial.

(Doc. 324 at 583; Doc. 256.) Arguably raising the issue pretrial is not

enough to preserve the issue because one of the requirements to finding

a Brady violation is materiality. See United States v. Rigal, 740 F. App’x

171, 174 (11th Cir. 2018); United States v. Hansen, 262 F.3d 1217, 1234

(11th Cir. 2001).    “For Brady purposes, evidence is material if a

reasonable probability exists that, had the evidence been disclosed, the

outcome of the proceeding would have been different.” Rigal, 740 F.

App’x at 174. Given this, it is almost impossible for a district court to

conclude, pretrial, whether there has been a Brady violation because it

cannot determine, in a vacuum, whether it is reasonably probable that

the outcome of the future trial would be different. Thus, it would make

sense to require a defendant to reassert his Brady violation after the

jury’s verdict in order to properly preserve it for appeal. See United

States v. Brown, 598 F. App’x 689, 692 (11th Cir. 2015) (“The government

neither possesses nor suppresses information under Brady unless the

information is available to the government at some time before the

conclusion of the trial.” (emphasis added)). Because Gunn did not raise

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Brady in his motion for new trial, any Brady claim is probably subject to

plain error.

     But, in this case, Gunn actually frames the issue as whether the

district court erred by allowing the trial to go forward despite his request

for a continuance. (Gunn Br. 4.) But this Court reviews a denial of a

motion to continue trial for abuse of discretion. See Pendergrass, 995

F.3d at 870.     Gunn has certainly preserved his objection to the

commencement of trial; however, that does not necessarily translate into

reviewing his Brady violation de novo.

     Ultimately, the exact standard is immaterial because whether it is

de novo, abuse of discretion or plain error, Gunn’s claim fails.

     2.    There is no Brady violation because the government
           never possessed the videos.

     In order to a show a Brady violation, Gunn must demonstrate that:

“(1) the prosecution possessed evidence favorable to him, including

impeaching evidence; (2) he did not possess the evidence and could not

have obtained it with due diligence; (3) the prosecution suppressed the

evidence; and (4) had the evidence been revealed to the defendant, it is

reasonably probable that the outcome of the proceeding would have been


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different.” Gallardo, 977 F.3d at 1142; see also United States v. Melgen,

967 F.3d 1250, 1264 (11th Cir. 2020) (explaining defendant has burden

of establishing all elements of Brady violation). “A reasonable probability

is a probability sufficient to undermine confidence in the outcome.”

United States v. Stahlman, 934 F.3d 1199, 1229 (11th Cir. 2019) (internal

quotation marks omitted).

     Here, the district court correctly concluded that Gunn failed to meet

his burden demonstrating the government possessed the PornHub

videos. (Doc. 324 at 21.) Although the FBI agent viewed the videos on

PornHub, a publicly available website, he did not download or otherwise

“screenshot” them. (Doc. 324 at 5, 7-8, 16, 531-34.) The government

served a search warrant on PornHub in order to obtain the videos, but as

of trial, the website had not provided working copies. (Doc. 324 at 7-9,

16.) Thus, the government did not suppress the videos because it did not

have the videos in its possession. See United States v. Naranjo, 634 F.3d

1198, 1212 (11th Cir. 2011) (explaining Brady “applies only to

information possessed by the prosecutor or anyone over whom he has

authority” (internal quotation marks omitted)).




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     Gunn contends the government possessed the PornHub videos

because it could have recorded them from the computer screen somehow.

(Gunn Br. 6-7.) See United States v. Jordan, 316 F.3d 1215, 1252 n.81

(11th Cir. 2003) (“However, mere speculation or allegations that the

prosecution possesses exculpatory information will not suffice to prove

‘materiality.’”). But Gunn cites no caselaw holding that just because the

government could have somehow obtained evidence from an otherwise

publicly available source, that is the equivalent of the government

possessing evidence for Brady purposes. See United States v. Meros, 866

F.2d 1304, 1309 (11th Cir. 1989) (“A prosecutor has no duty to undertake

a fishing expedition in other jurisdictions in an effort to find potentially

impeaching evidence every time a criminal defendant makes a Brady

request for information regarding a government witness.”).

     To the contrary, Eleventh Circuit caselaw demonstrates the

government did not possess the videos in this case. For example, in

United States v. Rodriguez, 917 F.2d 1286 (11th Cir. 1990)8, this Court

held there was no Brady violation because the government technically


     8 Vacated in part on other grounds by United States v. Rodriguez,
935 F.2d 194 (11th Cir. 1991).

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did not possess several audio tapes after they had been lost. See id. at

1291 (“Leon and Hernandez do not dispute the government’s

representation that the tapes have been lost. Materials not possessed by

the government cannot be suppressed within the meaning of Brady.”). In

United States v. Garcia-Solar, 775 F. App’x 523 (11th Cir. 2019), the

defendants complained that the government violated Brady by

destroying certain evidence prior to trial. Id. at 529. Still, this Court

reasoned that “no Brady violation occurred” “because [the defendants]

have not established that the government possessed any evidence that

was actually favorable but suppressed it when they requested it.” Id. at

530.

       Because Gunn fails to establish the government actually possessed

the PornHub videos, his Brady claim fails. This Court may affirm the

district court on this basis alone.

       3.   The evidence was not clearly exculpatory at the time the
            FBI Agent viewed the videos and Gunn knew about, and
            had equal access to obtaining, the publicly available
            videos.

       Gunn’s Brady claim fails for several other reasons too. First, Gunn

presents no evidence establishing that the exculpatory value of the videos


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was apparent at the time FBI Special Agent Godbee reviewed the videos

in February 2020.       Id. at 530 (explaining defendants “have not

established that any of the [alleged Brady] evidence possessed an

exculpatory value that was apparent at the time that it was destroyed”).

Indeed, Special Agent Godbee testified that when he reviewed the videos,

it “was very early on” in the investigation. (Doc. 324 at 534.) He also

understood that PornHub was not an illegal website, and, under cross

examination, he admitted that until Amanda’s later statements, the

videos were “consistent with a person engaging in what I would say is

some sort of deviant sexual behavior.” (Doc. 324 at 534-35.) Even Gunn’s

attorney admitted that he did not realize the videos were “crucial to

Gunn’s defense” until the weekend before trial. (Doc. 324 at 18.) Based

on this, Gunn has not shown the videos’ exculpatory nature was evident

at the time law enforcement initially viewed the videos.

     Relatedly, Gunn was well aware of the videos from the start of the

investigation and had equal access to them. See Parker v. Allen, 565 F.3d

1258, 1277 (11th Cir. 2009) (“[T]here is no suppression [under Brady] if

the defendant knew of the information or had equal access to obtaining

it.”). Gunn himself was the person who informed Special Agent Godbee

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of the videos’ existence the first time they spoke on February 5, 2020.

(Doc. 324 at 12-14, 531, 542.) On February 6, 2020, Gunn was charged

by federal criminal complaint and, by February 11, 2020, he had an

attorney. See Gunn, No. 1:20-mj-007 (MJ Docs. 3, 16). Thus, Gunn knew

he was charged with a crime and he had an attorney 12 days before

Special Agent Godbee even viewed the PornHub videos. The government

also disclosed all of this information to Gunn in the first round of

discovery. (Doc. 324 at 15, 16, 20.)

     Given that Gunn was already aware of the videos prior to his arrest,

and that he had an attorney within five days of being charged (and only

six days after first informing law enforcement about the videos), he has

not demonstrated that he could not have obtained the videos himself with

due diligence. See United States v. Stein, 846 F.3d 1135, 1147 (11th Cir.

2017) (explaining defendant “made no effort to establish” that he could

not have obtained a publicly available document despite reasonable

diligence); United States v. Valera, 845 F.2d 923, 927-28 (11th Cir. 1988)

(“‘[T]here is no Brady violation when the accused or his counsel knows

before trial about the allegedly exculpatory information and makes no

effort to obtain its production.’”); United States v. Davis, 787 F.2d 1501,

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1505 (11th Cir. 1986) (“This court has subsequently held that the Brady

rule does not apply if the evidence in question is available to the

defendant from other sources.”).

      4.    Gunn cannot demonstrate materiality.

      Gunn speculates that the videos would have shown that Amanda

was not being forced to do anything. (Gunn Br. 8.) He also speculates

that he was not in any of the videos.9         (Gunn Br. 8.)       Thus, Gunn

concludes that this would have allowed the jury to “conclude [Amanda],

solely, was responsible for the exploitation of the minor child.” (Gunn Br.

8.)   All of this, of course, is conclusory and speculative.         “The mere

possibility that an item of undisclosed information might have helped the

defense, or might have affected the outcome of the trial, does not

establish ‘materiality’ in the constitutional sense.”        United States v.

Agurs, 427 U.S. 97, 109-10 (1976).

      Gunn fails to establish a reasonable probability that the outcome of

his trial would have been different had the videos been produced to him.




      At trial, Special Agent Godbee testified that he thought he saw
      9

Gunn in one of the videos, but “could not be sure.” (Doc. 324 at 534.)


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No one denied the existence of the videos or their contents,10 and Gunn

had an opportunity to cross-examine Amanda and Special Agent Godbee

about the videos. See United States v. Ford, No. 05-16276, 2007 WL

1259047, at *3 (11th Cir. Apr. 30, 2007) (“There was no prejudicial Brady

violation because the defendants were given an opportunity to cross-

examine the witness regarding the grant of use immunity.”); cf. United

States v. Baptista-Rodriguez, 17 F.3d 1354, 1366 (11th Cir. 1994) (“[A

defendant] is entitled only to an opportunity for effective cross-

examination, not cross-examination that is effective ‘in whatever way,

and to whatever extent, the defense might wish.’” (cleaned up)).

According to Gunn, the videos were mostly impeachment evidence

against Amanda; however, such evidence rarely is material enough to

change the outcome of an entire trial. See Hughes v. Hopper, 629 F.2d

1036, 1039 (5th Cir. 1980) (“The ultimate test that any Brady claim must

meet is whether the prosecutor’s omission is of sufficient significance to

result in a denial of petitioner’s right to a fair trial. . . . As this Court

noted, impeachment evidence can rarely meet this test.”); cf. Monarch


     10 There is no evidence that the minor child was in these particular
videos, making them, at most, impeachment material against Amanda.

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Ins. Co. of Ohio v. Spach, 281 F.2d 401, 412 (5th Cir. 1960) (“But

impeachment evidence can rarely be classified as so decisive in nature

that it would in all reasonable probability have a significant effect on the

outcome.”).

     And, as the district court explained in denying Gunn’s motions for

judgment of acquittal and for new trial, the evidence was overwhelming

against Gunn.11 (Doc. 274 at 3-10; Doc. 324 at 584-90.) See United States

v. Kubiak, 704 F.2d 1545, 1551 (11th Cir. 1983) (“The overwhelming

evidence of guilt in this case belies any notion that the discovery material

might have created a reasonable doubt.”). In addition to Amanda, the

minor child victim testified against Gunn, explaining what was done to

her and who was responsible. (Doc. 274 at 4-10; Doc. 324 at 584-90.)

There was also audio recordings of Gunn’s statements to law

enforcement, the testimony of a man who paid to have sex with the minor

victim (Jonathan Grantham), and the testimony of law enforcement

about the analysis of computers, photographs, videos and the internet.

(Doc. 274 at 4-10; Doc. 324 at 584-90.) Gunn has not demonstrated that,



     11   Gunn does not challenge the sufficiency of the evidence on appeal.

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given the other evidence in this case, there is a reasonable probability

that he would not have been convicted had the videos been provided to

him.

B.     Failure to preserve evidence is actually a Youngblood claim,
       which Gunn never raised before the district court and has
       not addressed on appeal.

       Gunn’s complaint about the government failing to preserve the

PornHub videos is actually, at best, a Youngblood12 claim. See United

States v. Hernandez, 864 F.3d 1292, 1306 (11th Cir. 2017). “The Supreme

Court’s      decisions   in    Trombetta13     and    Youngblood       govern    the

constitutionality of the nondisclosure of evidence in ‘cases in which the

government no longer possesses the disputed evidence.’” Olszewski v.

Spencer, 466 F.3d 47, 55 (1st Cir. 2006); see also United States v. Femia,

9 F.3d 990, 993 (1st Cir. 1993) (“The Supreme Court’s jurisprudence

divides cases involving nondisclosure of evidence into two distinct

universes. Brady and its progeny address exculpatory evidence still in

the government’s possession. Youngblood and Trombetta govern cases in


       12   Arizona v. Youngblood, 488 U.S. 51 (1988).

       13   California v. Trombetta, 467 US. 479 (1984).


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which the government no longer possesses the disputed evidence.”).

Gunn did not argue a Youngblood claim in the district court and he does

not present it in his appellate brief. Therefore, he has forfeited the

issue.14 See United States v. Campbell, 26 F.4th 860, 872-73, 875 (11th

Cir. 2022) (“In most cases, an issue abandoned on appeal should still be

dismissed without reaching the merits.”).

     Even if considered, there is no plain error under Youngblood. “‘In

order to show that the loss of evidence by the government constitutes a

denial of due process, the defendant must show that the evidence was

likely to significantly contribute to his defense.’”        United States v.

Revolorio-Ramo, 468 F.3d 771, 774 (11th Cir. 2006) (quoting Trombetta,

467 U.S. at 488).       The PornHub video evidence was essentially

impeachment material, and Gunn still had the opportunity to cross-

examine Amanda and Special Agent Godbee about the videos (which no

one denied either their existence or their contents). Thus, it cannot be

said the videos were likely to significantly contribute to Gunn’s defense.




     14 The government contends that Gunn meets none of the
exceptions to the forfeiture rule. See Campbell, 26 F.4th at 873.

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     Further, “‘[t]o meet this standard of constitutional materiality,

evidence must possess an exculpatory value that was apparent before the

evidence was destroyed, and be of such a nature that the defendant would

be unable to obtain comparable evidence by other reasonably available

means.’” Id. (quoting Trombetta, 467 U.S. at 489). Again, for the same

reasons detailed above, Gunn has not shown that the exculpatory value

of the videos was apparent at the time Special Agent Godbee viewed them

in February 2020. And, as discussed above, Gunn cannot demonstrate

he was unable to obtain comparable evidence by other reasonably

available means because he was the one who informed law enforcement

about the videos’ existence.      And he had an attorney before law

enforcement viewed the vidoes on the internet. Thus, Gunn had ample

opportunity to get his own copies of those videos well before trial.

     Lastly, “‘[F]ailure to preserve this “potentially useful evidence” does

not violate the due process clause “unless a criminal defendant can show

bad faith on the part of the police.”’” Id. (quoting Illinois v. Fisher, 540

U.S. 544-547-48 (2004)). Gunn’s attorney specifically acknowledged to

the district court that he did not believe the government acted

intentionally or in bad faith. (Doc. 324 at 5.) Nothing in the record

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suggests that law enforcement acted in bad faith by not “screen

recording” the videos. To the contrary, Special Agent Godbee testified

that when he first viewed the videos, it “was very early on” in the

investigation and he “felt it was more prudent to go the official route and

get a search warrant for this site for these accounts.” (Doc. 324 at 534.)

This is not enough to establish bad faith. See, e.g., Williams v. Sec’y, Fla.

Dep’t of Corrs., No. 15-13112, 2016 WL 10749631, at *5 (11th Cir. July

27, 2016) (“This is insufficient to show a Youngblood violation, which

requires a showing of ‘bad faith on the part of the police’ and not merely

a ‘failure to preserve potentially useful evidence.’”).

C.   The district court did not abuse its discretion by denying
     Gunn’s request to continue the trial.

     Based on the above, the district court did not arbitrarily and

unreasonably deny Gunn’s request to continue the trial. He has also not

demonstrated that he was severely prejudiced by the denial, especially

considering he still was able to cross-examine the witnesses about the

videos and their contents. Moreover, overwhelming evidence of Gunn’s

guilt was presented at trial.




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                            CONCLUSION

     The district court did not abuse its discretion when denied Gunn’s

request to continue the trial for an alleged Brady violation. There was

no violation because the government did not have the evidence in its

possession. Additionally, Gunn had equal access to the publicly available

videos, which were ultimately not material. Finally, Gunn abandoned on

appeal any Youngblood claim for failure to preserve evidence; even so,

there was no Youngblood violation in this case. For these reasons, the

United States respectfully requests that this Court affirm the district

court’s decision.

                              Respectfully submitted,

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         CERTIFICATE OF COMPLIANCE AND SERVICE

     This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

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P. 32(a)(7)(B) because it contains 5,750 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

     This brief was filed today through this Court’s ECF system, and

thereby served on appellant Michael Gunn’s counsel of record, Shawn M.

Merzlak, at his Court-registered e-mail addresses, pursuant to Fed. R.

App. P. 25(c)(1)(D) and 25(c)(2), and 11th Cir. R. 25-3(a).

     This December 23, 2022.

                                Respectfully submitted,

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